UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


    In re:                                                          Chapter 11

    THE DIOCESE OF ROCHESTER,                                       Case No. 19-20905 (PRW)

                      Debtor.


    COVER SHEET TO FOURTH INTERIM FEE APPLICATION OF BURNS BAIR LLP
    FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
    EXPENSES INCURRED AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS OF THE DEBTOR FOR THE PERIOD
                  JANUARY 1, 2023 THROUGH JULY 31, 2023


Name of Applicant:                                           Burns Bair LLP

Authorized to Provide Professional Services to:              The Official Committee of Unsecured
                                                             Creditors of the Debtor

Date of Retention:                                           Effective as of May 26, 2021 by Order
                                                             signed on June 22, 2021 [Doc 1113]

Period for Which Compensation is Sought:                     January 1, 2023 – July 31, 2023

Amount of Fees Sought:                                       $316,672.00

Amount of Expense Reimbursement Sought:                      $11,565.95


This is Burns Bair LLP’s Fourth Interim Fee Application.

    Blended Rate in this Application for All Attorneys:                                               $553.34
    Blended Rate in this Application for All Timekeepers:                                             $550.45
    Compensation Sought in this Application Already Paid Pursuant to a                            $253,337.60
    Monthly Compensation Order but Not Yet Allowed:
    Compensation Sought in this Application Not Already Paid Pursuant to a                         $63,334.40
    Monthly Compensation Order:
    Expenses Sought in this Application Already Paid Pursuant to a Monthly                         $11,507.16
    Compensation Order but Not Yet Allowed:
    Expenses Sought in this Application Not Already Paid:                                              $58.791



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    Reimbursement of expenses requested on Invoice #01139 (Dkt, 2155) in the amount of $58.79 were not received.


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                                 TIMEKEEPER SUMMARY
                                                     Hourly        Total Hours       Total
            Professional            Position
                                                   Billing Rate       Billed      Compensation
 Timothy W. Burns                  Partner           $700.00         176.30         $123,410.00
 Timothy W. Buns – Travel Rate     Partner           $350.00          54.40          $19,040.00
 Jesse J. Bair                     Partner           $625.00         168.70         $105,437.50
 Jesse J. Bair – Travel Rate       Partner           $312.50          41.80          $13,062.50
 Brian P. Cawley                   Associate         $420.00          40.80          $17,136.00
 Nathan M. Kuenzi                  Associate         $420.00          38.10          $16,002.00
 Leakhena Au                       Associate         $420.00          37.60          $15,792.00
 Kacy C. Gurewitz                  Associate         $420.00           7.00           $2,940.00
 Katie Sticklen                    Summer            $378.00           2.00             $756.00
                                   Associate
 Karen Dempski                     Paralegal         $360.00            .60             $216.00
 Alyssa Turgeon                    Paralegal         $360.00           5.60           $2,016.00
 Brenda Horn-Edwards               Paralegal         $360.00           2.40            $864.00
                                                                   Grand Total:     $316,672.00
                                                                   Total Hours:          575.30
                                                                  Blended Rate:        $550.45


                                   EXPENSE SUMMARY

                                                      Service Provider                Total
              Expense Category
                                                       (if applicable)               Expenses
 Electronic Court Records                  PACER                                         $25.70
 Postage                                   United States Postal Service                  $29.49
 Database Monthly Hosting                  CloudNine                                    $327.14
 Travel – Flights                          Delta Airlines, United Airlines            $6,764.10
 Travel – Hotel                                                                       $3,240.34
 Travel – Meals                                                                          200.89
 Travel – Mileage, Tolls, Parking, Taxi                                                 $978.29
                                                                                     $11,565.95




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 Dated: September 15, 2023         Respectfully submitted,

                                   BURNS BAIR LLP

                                    /s/ Timothy W. Burns                            .




                                   Timothy W. Burns (admitted pro hac vice)
                                   Jesse J. Bair (admitted pro hac vice)
                                   10 E. Doty St., Suite 600
                                   Madison, WI 53703-3392
                                   Telephone: (608) 286-2808
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                                   Email: jbair@burnsbair.com

                                   Special Insurance Counsel to the Official Committee
                                   of Unsecured Creditors of the Diocese of Rochester




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                    Chapter 11

 THE DIOCESE OF ROCHESTER,                                 Case No. 19-20905 (PRW)

                    Debtor.


 FOURTH INTERIM FEE APPLICATION FOR ALLOWANCE OF COMPENSATION
   AND REIMBURSEMENT OF EXPENSES BY BURNS BAIR LLP AS SPECIAL
   INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
            CREDITORS OF THE DEBTOR FOR THE PERIOD
               JANUARY 1, 2023 THROUGH JULY 31, 2023


    Burns Bair LLP (“Burns Bair” or the “Firm”), special insurance counsel to the Official

Committee of Unsecured Creditors (the “Committee”) of The Diocese of Rochester (the

“Debtor”), hereby submits its fourth interim fee application, pursuant to 11 U.S.C. §§ 330 and 331

and Rule 2016 of the Federal Rules of Bankruptcy Procedure, for (a) allowance of interim

compensation for professional services performed by Burns Bair for the period commencing

January 1, 2023 through July 31, 2023 (the “Interim Compensation Period”) in the amount of

$316,672.00, and (b) reimbursement of its actual and necessary expenses in the amount of

$11,565.95 incurred during the Interim Compensation Period, on the following grounds:

                                         JURISDICTION

          1.     The Court has jurisdiction over this application pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

          2.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.




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        3.       The statutory predicates for relief requested are sections 330 and 331 of Title 11 of

the United States Code (the “Bankruptcy Code”) and Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

                                          BACKGROUND

        4.       On September 12, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor remains in possession of its

property and continues to operate and maintain its organization as a debtor-in-possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code.

        5.       On September 24, 2019, the United States Trustee appointed the Committee,

pursuant to section 1102 of the Bankruptcy Code.

        6.       On May 3, 2021, Burns Bair filed its application seeking to be employed in this

case (“Retention Application”). As set forth in the declaration of Timothy W. Burns in support

of the Retention Application, due to the unique circumstances of this case, Burns Bair proposed to

charge hourly rates which are below its regular hourly rates, specifically, to charge its normal and

customary hourly rates, subject to a cap of $700 per hour. On June 22, 2021, the Court entered its

Order Authorizing and Approving the Employment of Burns Bair LLP as Special Insurance

Counsel to the Official Committee of Unsecured Creditors Effective as of May 26, 2021 (the

“Retention Order”) [Doc 1113], authorizing the employment of Burns Bair as special insurance

counsel to the Committee effective as of May 26, 2021. The Retention Order authorized Burns

Bair to apply for compensation for professional services rendered and reimbursement of expenses

as set forth in the Retention Application, subject to the Bankruptcy Code, Bankruptcy Rules, Local

Rules, and any other applicable procedures and orders of this Court.

        7.       Burns Bair did not receive a retainer in connection with its employment and, to



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date, has only received compensation for services and reimbursement of expenses pursuant to the

Administrative Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses of Professionals and Members of Official Committees (the “Interim Compensation

Order”) [Doc 318].

        8.       This is Burns Bair’s fourth interim fee application.

 Summary of Services Rendered by Burns Bair During the Interim Compensation Period

        9.       During the Interim Compensation Period, Burns Bair expended a considerable

number of hours on behalf of the Committee including, but not limited to, preparing for and

participating in multiple in-person mediation sessions and settlement conferences, including the

development and drafting of various insurance presentations for use during same; revising and

editing the Committee’s proposed Plan of Reorganization and related exhibits, with particular

focus on insurance issues, including associated legal research; revising and drafting insurance

portions of the Committee’s motion to dismiss or adjourn CNA’s claim objections, including

associated legal research; analysis and drafting of various insurance demand letters; drafting

response and reply to CNA’s proposal to file its own Plan; researching and drafting New York

General Business Law Section 349 complaint against CNA, including associated derivative

demand letter; presenting to the Committee and State Court Counsel on insurance strategy; and

formulating overall insurance strategy on behalf of the Committee, including working to finalize

settlements with LMI, Interstate, and First State. These tasks are not meant to be a detailed

description of all work performed.

        10.      The above-referenced description of services is not intended to be exhaustive of the

scope of Burns Bair’s services rendered on behalf of the Committee. A full accounting of all

services rendered on behalf of the Committee during the Interim Compensation Period is contained



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in related time records attached to the notices of invoices, attached hereto as Exhibits A to G.

        11.      As contained in the time records attached to the notices of invoices, Burns Bair has

expended a total of 575.30 hours during the Interim Compensation Period representing the

Committee in this case. The value of the services rendered to the Committee by Burns Bair is

$316,672.00 and Burns Bair has incurred actual and necessary out-of-pocket expenses in the

amount of $11,565.95 during the Interim Compensation Period in connection with such

professional services.

                                      RELIEF REQUESTED

        12.      By this application, Burns Bair requests entry of an order, substantially in the form

attached as Exhibit H: (a) allowing, on an interim basis, $316,672.00 as compensation for

professional services rendered and $11,565.95 as reimbursement of actual and necessary out-of-

pocket expenses incurred during the Interim Compensation Period in connection with such

professional services, and (b) directing the Debtor to pay Burns Bair the amount of $63,393.19 for

the total unpaid portion of the Interim Compensation Period.

Professional Services Rendered During Interim Compensation Period

        13.      The value of the professional services rendered to the Committee during the Interim

Compensation Period has been billed at rates normally charged by Burns Bair for comparable

services performed for other clients, subject to a $700/hour cap. The requested fees in the amount

of $316,672.00 are reasonable under the circumstances and reflect the expertise of counsel in

representing the Committee in this case.

        14.      Burns Bair has attempted to avoid any duplication of services by its professionals

in rendering services. When more than one professional participated in any conference or hearing,

such joint participation was necessary because of the complexity of the legal issues involved, the



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various legal disciplines required, or the need to familiarize the professional with such matters so

that he or she could independently perform further essential services in connection with this case.

        15.      Each entry itemized in Burns Bair’s time records includes (a) a description of each

activity or service that an individual performed, and (b) the number of hours (in increments of one-

tenth of an hour) spent by an individual performing the activity or providing service.

       Actual and Necessary Expenses Incurred During Interim Compensation Period

        16.      During the Interim Compensation Period, Burns Bair has incurred actual and

necessary out-of-pocket expenses in the total amount of $11,565.95.

        17.      Burns Bair seeks reimbursement for, among other things, the following types of

expenses: (a) electronic court records; (b) travel expenses; and (c) miscellaneous expenses. Below

is a summary of the actual and necessary out-of-pocket expenses incurred on behalf of the

Committee during the Interim Compensation Period:

          EXPENSE CATEGORY                                                   AMOUNT
          Out-of-Town Travel
                Air Fare                                                     $6,764.10
                Misc. Travel Expenses (tolls, parking, taxi)                  $978.29
                Hotel Expense                                                $3,240.34
                 Meals                                                        $200.89
          Court Research
                PACER                                                          $25.70
          Postage
                United States Postal Service                                   $29.49
          Database Hosting
                CloudNine                                                     $327.14
                                                        Total:               $11,565.95

All expense entries detailed in Burns Bair’s time records include an itemization of the expenses
by category, the date the expense was incurred, and the amount of the expense. The requested
expenses are of the kind customarily charged by Burns Bair for similar items in other similar
matters. All expenses were incurred on behalf of the Committee, and all expenses paid to outside
vendors were billed in this case by Burns Bair at the rate charged to Burns Bair.




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                       GROUNDS FOR GRANTING RELIEF REQUESTED

        18.      All of the services for which compensation is requested by Burns Bair were

performed for, or on behalf of, the Committee, and not on behalf of the Debtor, any creditor,

examiner, trustee or any other entity. In addition, Burns Bair has not entered into any agreements

to fix fees or share compensation as prohibited by 18 U.S.C. §155 and 11 U.S.C. §504.

        19.      This interim application is made at this time due to the substantial amount of time

devoted on behalf of the Committee during the Interim Compensation Period and the impact that

the expenditure of such an amount of time without further compensation will have upon Burns

Bair finances if compensation were delayed to a later time. Thus, Applicant respectfully submits

that, pursuant to Local Rule 2016-1 and the Interim Compensation Order, Applicant should not be

required to await the conclusion of this case to request the relief sought in this interim fee

application.

        20.      As this Application demonstrates, the services that Burns Bair has rendered on

behalf of the Committee have been beneficial to the Committee in that the services have been

utilized to assist the Committee with those matters outlined above.

        21.      The attorneys primarily responsible for representing the Committee in connection

with this case, Timothy W. Burns and Jesse J. Bair, have extensive experience representing clients

in complex insurance disputes, and in cases similar to this one.

        22.      Section 331 of the Bankruptcy Code provides for interim compensation of

professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code

that govern the Court’s award of such compensation. See 11 U.S.C. § 331. Section 330 of the



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Bankruptcy Code provides that a court may award a professional employed under section 327 of

the Bankruptcy Code “reasonable compensation for actual, necessary services rendered . . . and

reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1)(A)-(B). Section 330 of the

Bankruptcy Code also sets forth the criteria for the award of such compensation and

reimbursement:

        In determining the amount of reasonable compensation to be awarded … the court shall
        consider the nature, the extent, and the value of such services, taking into account all
        relevant factors, including –

              (A) the time spent on such services;

              (B) the rates charged for such services;

              (C) whether the services were necessary to the administration of, or beneficial at the
                  time at which the service was rendered toward the completion of, a case under
                  this title;

              (D) whether the services were performed within a reasonable amount of time
                  commensurate with the complexity, importance, and nature of the problem, issue,
                  or task addressed;

              (E) with respect to a professional person, whether the person is board certified or
                  otherwise has demonstrated skill and experience in the bankruptcy field; and

              (F) whether the compensation is reasonable based on the customary compensation
                  charged by comparably skilled practitioners in cases other than cases under this
                  title.

11 U.S.C. § 330(a)(3).

        23.      Burns Bair has reviewed the requirements of each of the foregoing and believes

that this application is in compliance with such requirements, as applicable.

        24.      In addition to the foregoing specified services, Burns Bair believes that it has

performed further services which are not reflected in the time records. It is impossible to record

the detail of each letter, telephone call, conference time or research. Many such hours have been

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performed to date, but Burns Bair is not requesting compensation for them. Further, as set forth

above, Burns Bair has capped its hourly rate.

        25.      All services for which Burns Bair seeks compensation, and expenses for which it

seeks reimbursement, were performed on behalf of the Committee and were necessary and

beneficial to the Committee. Burns Bair worked diligently to anticipate or respond to the

Committee’s needs and assist in the navigation of this very complex chapter 11 case. The

compensation requested herein is reasonable in light of the nature, extent, and value of such

services rendered to the Committee.

        26.      In connection with the matters covered by this application, Burns Bair received no

payment and no promises of payment for services rendered, or to be rendered, from any source

other than the Debtor’s bankruptcy estate. There is no agreement or understanding between Burns

Bair and any other person, other than members of the firm, for the sharing of compensation

received for services rendered in this case.
                                       Valuation of Services

        27.      Attorneys and paraprofessionals of Burns Bair expended a total 575.30 hours in

connection with their representation of the Committee during the Interim Compensation Period,

as follows:

                                                             Hourly       Total Hours      Total
       Professional                    Position            Billing Rate      Billed     Compensation
 Timothy W. Burns            Partner, Member of Missouri     $700.00          176.30    $123,410.00
                             Bar since 1991, Member of
                             Illinois Bar since 1997,
                             Member of Wisconsin Bar
                             since 2008
 Timothy W. Buns             (See above)                     $350.00           54.40     $19,040.00
 Travel Rate
 Jesse J. Bair               Partner, Member of              $625.00          168.70    $105,437.50
                             Wisconsin bar since 2013


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                                                              Hourly       Total Hours      Total
       Professional                    Position             Billing Rate      Billed     Compensation
 Jesse J. Bair               (See above)                      $312.50           41.80     $13,062.50
 Travel Rate
 Nathan M. Kuenzi            Associate, Member of             $420.00           38.10     $16,002.00
                             Wisconsin Bar since 2020
 Brian P. Cawley             Associate, Member of             $420.00           40.80     $17,136.00
                             Wisconsin Bar since 2020,
                             Member of Illinois Bar since
                             2021, Member of New York
                             Bar since 2022
 Leakhena Au                 Associate, Member of             $420.00           37.60     $15,792.00
                             Wisconsin bar since 2020
 Kacy C. Gurewitz            Associate, Member of             $420.00             7.00      $2,940.00
                             Wisconsin bar since 2021
 Katie Sticklen              Summer Associate                 $378.00         2.00           $756.00
 Karen Dempski               Paralegal                        $360.00          .60           $216.00
 Alyssa Turgeon              Paralegal                        $360.00         5.60         $2,016.00
 Brenda Horn-Edwards         Paralegal                        $360.00         2.40           $864.00
                                                                     Grand Total:        $316,672.00
                                                                      Total Hours:            575.30
                                                                    Blended Rate:           $550.45

        28.      To the extent time or disbursement charges for services rendered or expenses

incurred relate to the Interim Compensation Period but were not processed prior to the preparation

of this application or Burns Bair has for any other reason not yet sought compensation or

reimbursement of expenses herein with respect to any services rendered or expenses incurred

during the Interim Compensation Period, Burns Bair reserves the right to request compensation

for such services and reimbursement of such expenses in a future application.

        29.      In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

it is respectfully submitted that the amount requested by Burns Bair is fair and reasonable given

(a) the complexity of the case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under the Bankruptcy Code. Moreover, Burns Bair has reviewed the requirements of Local

Rule 2016 and the Interim Compensation Order signed on or about November 1, 2019 and believes



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that this Application complies with such Rule and Order.

                                              NOTICE

        30.      Notice of this application will be given to (a) the Debtor, (b) the Debtor’s counsel,

(c) the U.S. Trustee, and (d) those parties who have appeared in this case or have requested notice

pursuant to Bankruptcy Rule 2002.

        WHEREFORE, Burns Bair respectfully requests the Court enter an order, substantially in

the form attached as Exhibit H: (i) allowing, on an interim basis, $316,672.00 as compensation

for professional services rendered and $11,565.95 as reimbursement of actual and necessary out-

of-pocket expenses incurred during the Interim Compensation Period in connection with such

professional services; (ii) directing the Debtor to pay Burns Bair the amount of $63,393.19 for the

unpaid amounts incurred during the Interim Compensation Period; (iii) allowing such

compensation for professional services rendered and reimbursement of actual and necessary out-

of-pocket expenses incurred without prejudice to Burns Bair’s right to seek additional

compensation for services performed and expenses incurred during the Interim Compensation

Period, which were not processed at the time of this application; and (iv) granting Burns Bair all

other just and proper relief.

Dated: September 15, 2023                      Respectfully submitted,

                                               BURNS BAIR LLP

                                                /s/ Timothy W. Burns                                .




                                               Timothy W. Burns (admitted pro hac vice)
                                               Jesse J. Bair (admitted pro hac vice)
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                                               Email: jbair@burnsbair.com

                                               Special Insurance Counsel to the Official Committee
                                               of Unsecured Creditors of the Diocese of Rochester

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                                        CERTIFICATION


        Timothy W. Burns, hereby declares under penalty of perjury:

        a)       I am a partner with the applicant law firm Burns Bair LLP (“Burns Bair”) and am

admitted pro hac vice to appear before this Court.

        b)       I am familiar with the work performed on behalf of the Committee by the lawyers

and paraprofessionals of Burns Bair.

        c)       I have reviewed the foregoing Application and the facts set forth therein are true

and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Local Rule 2016 and the Interim Compensation Order signed on or about September 15, 2023

and believe that this Application substantially complies with such Rule and Order.


                                              /s/ Timothy W. Burns
                                              Timothy W. Burns




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